Mark C. Manning
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Counsel for Plaintiff

                         IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF ALASKA

COASTAL MARINE FUND,                           )
                                               )
                       Plaintiff,              )
                                               )
v.                                             )
                                               )
JOHN P. LYMAN,                          )
                                        )              Case No. 3:11-cv-00211-JWS
                    Defendant.          )
_______________________________________)

                                        STATUS REPORT
       This is to report the status of documentation of settlement of this action. Counsel had
negotiated a tentative settlement document. Certain language appeared to be impeding approval of
the document from Plaintiff's side. Revision by counsel this week would appear to have adequately
addressed that point, but Plaintiff's counsel needs a few days to receive confirmation from principals.
Accordingly, it is respectfully suggested this matter be scheduled for another report in 30 days, if
closing has not occurred.

       DATED this 21st day of November, 2014, at Anchorage, Alaska.

                                                         s/ Mark C. Manning
                                                       MARK C. MANNING, P.C.
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CERTIFICATE OF SERVICE

I certify that, on 11/21 /14, a copy of
the foregoing was served electronically on:

Robert L. Richmond, Esq.
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   s/ Mark C. Manning




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